       Case 4:18-cv-06753-PJH        Document 448       Filed 12/10/24   Page 1 of 19



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17                               UNITED STATES DISTRICT COURT

18                            NORTHERN DISTRICT OF CALIFORNIA

19                                          OAKLAND DIVISION

20 In re RIPPLE LABS, INC. LITIGATION                   Case No. 4:18-cv-06753-PJH

21                                                      CLASS ACTION

22 This Document Relates To:                            PLAINTIFF’S OBJECTIONS TO RIPPLE
                                                        LABS, INC.’S BILL OF COSTS
23 All Actions

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                         PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
                                             4:18-cv-06753-PJH
     12959013v1/016433
           Case 4:18-cv-06753-PJH                     Document 448                  Filed 12/10/24               Page 2 of 19




1                                                          TABLE OF CONTENTS

2    BACKGROUND .............................................................................................................................2
3    ARGUMENT ...................................................................................................................................2
4    I.        The Court Should Exercise Its Discretion and Decline to Tax Costs ..................................3
5    II.       The Court Should Defer Any Decision on Costs Until After the Appeal and Trial ............5
6    III.      The Court Should Deny Ripple’s Improper Cost Requests .................................................8
7              A.         Objection to Costs for Deposition Services – 28 USC § 1920(2)............................9
8              B.         Objection to E-Discovery Costs – 28 USC § 1920(4), Civil L-R 54-3(d)(2) ........10
9                         1.         Ripple Fails to Establish Compensable E-Discovery Costs from
                                     this Case .....................................................................................................10
10
                          2.         “Data Processing” Costs are Not Taxable .................................................12
11
     CONCLUSION ..............................................................................................................................14
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27                                                                            i
                                   PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                                              4:18-cv-06753-PJH
     12959013v1/016433
          Case 4:18-cv-06753-PJH                      Document 448                Filed 12/10/24             Page 3 of 19



1
                                                       TABLE OF AUTHORITIES
2
                                                                                                                                          Page(s)
3
      Cases
4
      Allison v. Bank One-Denver,
5         289 F.3d 1223 (10th Cir. 2002) .................................................................................................8

6     Amchem Prod., Inc. v. Windsor,
        521 U.S. 591 (1997) ...................................................................................................................4
7
      Asarco, LLC v. NL Indus.,
8        2016 U.S. Dist. LEXIS 39859 (E.D. Mo. Mar. 28, 2016) .........................................................6

9     Ass’n of Mexican-Am. Educators v. State of California,
         231 F.3d 572 (9th Cir. 2000) (en banc) .................................................................................3, 5
10
      Champion Produce, Inc. v. Ruby Robinson Co.,
11       342 F.3d 1016 (9th Cir. 2003) ...................................................................................................3

12 City of Alameda v. Nuveen Mun. High Income Opportunity Fund,
       2012 U.S. Dist. LEXIS 7403 (N.D. Cal. Jan. 23, 2012) ............................................................8
13
   Computer Cache Coherency Corp. v. Intel Corp.,
14     2009 U.S.Dist. LEXIS 122596 (N.D. Cal. Dec. 18, 2009) ......................................................13

15 Crawford Fitting Co. v. J. T. Gibbons, Inc.,
      482 U.S. 437 (1987) ...................................................................................................................3
16
   Ebonie S. v. Pueblo Sch. Dist. 60,
17    2011 U.S. Dist. LEXIS 99534 (D. Colo. Sep. 1, 2011) .........................................................6, 7

18 Escriba v. Foster Poultry Farms, Inc.,
      743 F.3d 1236 (9th Cir. 2014) ...............................................................................................3, 5
19
   Hamilton v. Tbc Corp.,
20    2020 U.S. Dist. LEXIS 189431 (C.D. Cal. Feb. 13, 2020)........................................................4

21 In re 5-Hour Energy Mktg. & Sales Pracs. Litig.,
       2018 U.S. Dist. LEXIS 244553 (C.D. Cal. Sep. 11, 2018)........................................................8
22
   In re Online DVD-Rental Antitrust Litig.,
23     779 F.3d 914 (9th Cir. 2015) ...................................................................................................12

24 In re Ricoh Co., Ltd. Patent Litig.,
       661 F.3d 1361 (Fed. Cir. 2011)..................................................................................................8
25
   In re Tesla Inc.,
26     2023 U.S. Dist. LEXIS 103682 (N.D. Cal. June 14, 2023) ...................................................3, 4

27
                                                                            ii
28                                  PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
                                                               4:18-cv-06753-PJH
      12959013v1/016433
          Case 4:18-cv-06753-PJH                       Document 448                Filed 12/10/24             Page 4 of 19



1     Kwan Software Eng'g, Inc. v. Foray Techs., LLC,
        2014 U.S. Dist. LEXIS 63933 (N.D. Cal. May 8, 2014) .........................................................12
2
      Microsoft Corp. v. Multi-Tech Sys.,
3        2002 U.S. Dist. LEXIS 27119 (D. Minn. Oct. 23, 2002) ..........................................................6

4     Pac. Coast Bldg. Prods. v. Certainteed Gypsum, Inc.,
         2019 U.S. Dist. LEXIS 228685 (N.D. Cal. Dec. 5, 2019) .........................................................8
5
      PJY Enters., Ltd. Liab. Co. v. Kaneshiro,
6        2014 U.S. Dist. LEXIS 104609 (D. Haw. July 31, 2014)......................................................5, 6

7     Plantronics, Inc. v. ALIPH, Inc.,
         2012 U.S. Dist. LEXIS 152297 (N.D. Cal. Oct. 23, 2012)......................................................13
8
      Race Tires Am., Inc. v. Hoosier Racing Tire Corp.,
9        674 F.3d 158 (3d Cir. 2012).....................................................................................................12

10 Save Our Valley v. Sound Transit,
      335 F.3d 932 (9th Cir. 2003) .....................................................................................................3
11
   SEC v. Ripple Labs, Inc. et al.,
12    Case No. 20 Civ. 10832 (AT) (S.D.N.Y.)................................................................................11

13 Shorter v. S. Cal. Buick Pontiac GMC Dealers, Inc.,
      2018 U.S. Dist. LEXIS 225690 (C.D. Cal. June 7, 2018) .........................................................7
14
   Taniguchi v. Kan Pac. Saipan, Ltd.,
15    566 U.S. 560 (2012) .................................................................................................................12

16 United States v. O'Hagan,
      521 U.S. 642 (1997) ...................................................................................................................4
17
   Vectren Communs. Servs. v. City of Alameda,
18    2014 U.S. Dist. LEXIS 100227 (N.D. Cal. July 22, 2014) ........................................................9

19 Statutes

20 28 USC § 1920(2) ............................................................................................................................9

21 28 USC § 1920(4) ....................................................................................................................10, 12

22

23

24

25

26

27
                                                                            iii
28                                  PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
                                                                4:18-cv-06753-PJH
      12959013v1/016433
       Case 4:18-cv-06753-PJH           Document 448        Filed 12/10/24      Page 5 of 19




1            This groundbreaking case has been hard fought from the beginning. Indeed, until this Court

2    granted-in-part Defendants’ motion for summary judgment, Plaintiff succeeded at each major stage of

3    the litigation. Moreover, although the Court granted summary judgment with respect to the Class

4    claims based on the Securities Act’s statute of repose and California’s privity requirement, the Court

5    held that it “cannot find as a matter of law that Ripple’s conduct would not have led a reasonable

6    investor to have an expectation of profit due to the efforts of others,” and denied summary judgment

7    on Plaintiff’s individual securities claim. Recognizing the merit of this claim, Defendants offered to

8    have judgment entered against them on that claim along with an award of reasonable attorneys’ fees

9    and costs to Plaintiff. Declaration of James Taylor-Copeland (“Taylor-Copeland Decl.”) ¶ 3, Ex. 1.

10 However, Plaintiff had concerns that accepting this offer of judgment could negatively impact his

11 ability to pursue an appeal of the Class claims and effectively vindicate the rights of the Class.

12           Plaintiff thus proposed, and the parties subsequently filed a joint motion, requesting “that the

13 Court direct entry of final judgment on Plaintiff’s class action claims pursuant to Rule 54(b) and stay

14 further proceedings on Plaintiff’s remaining individual state law claim until resolution of any and all

15 appeals of the class action claims.” ECF No. 437 at 2. Neither the parties’ joint motion nor the Court’s

16 order granting that motion directed the taxing and apportionment of costs. ECF No. 437; ECF No.

17 442. Plaintiff was thus surprised by Ripple Labs, Inc.’s (“Ripple”) filing of the bill of costs.

18           To ensure the continued and effective enforcement of the securities laws, Plaintiff respectfully

19 requests that the Court decline to tax costs against Plaintiff here. In the alternative, to ensure the

20 efficient use of judicial resources, Plaintiff respectfully requests that the Court defer consideration of

21 taxable costs until after completion of the pending appeal and resolution of the stayed individual claim

22 and any remanded Class claims. If the Court is inclined to handle cost awards, as Ripple requests, in

23 a piecemeal fashion, Plaintiff objects pursuant to Local Rule 54-2.2 to various costs claimed by Ripple.

24 Plaintiff met and conferred with counsel for Ripple by phone on December 4, 2024, and thereafter by

25 email in an effort to resolve the parties’ disagreements concerning those costs. Taylor-Copeland Decl.

26 ¶ 4, Ex. 2. The parties were unable to resolve those objections noted below. Id.

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                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                             4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH           Document 448        Filed 12/10/24      Page 6 of 19




1                                              BACKGROUND

2            This securities class action arises from three complaints, consolidated by this Court on

3    February 28, 2019, brought on behalf of investors that purchased Ripple tokens (“XRP”) issued and

4    sold by Ripple Labs Inc. (“Ripple”) and related entities and individuals. On June 21, 2019, pursuant

5    to the Private Securities Litigation Reform Act (“PSLRA”), the Court appointed Bradley Sostack as

6    Lead Plaintiff. Mr. Sostack subsequently defeated Defendants’ Motions to Dismiss, including an

7    argument that repose barred Plaintiff’s and the then-putative class’s federal securities claims, and

8    obtained certification of two classes pursuant to Rule 23(b)(3). During the pendency of this action,

9    the U.S. Securities and Exchange Commission filed its own case against Defendants (“SEC Action”),

10 also alleging that Defendants offered and sold unregistered securities in the form of XRP tokens.

11           The central issue in this case is whether Defendants’ offers and sales of XRP on digital asset

12 exchanges constituted investment contracts under the Supreme Court’s Howey test and whether

13 Defendants thus violated the Securities Act and California law through the sale of unregistered

14 securities. Defendants sought summary judgment on this issue, which they had obtained in the SEC

15 Action. Plaintiff defeated this argument as the Court ruled that it “cannot find as a matter of law that

16 Ripple’s conduct would not have led a reasonable investor to have an expectation of profit due to the

17 efforts of others,” and allowed Plaintiff’s individual securities claim to proceed. ECF No. 419 at 16.

18 However, the Court did grant summary judgment with respect to the Class claims based on the

19 Securities Act’s statute of repose and California’s privity requirement. Plaintiff filed a notice of appeal

20 earlier today.

21                                                   ARGUMENT

22           The Court should exercise its discretion and decline to tax any costs against Plaintiff. See

23 Section I. In the alternative, the Court should defer consideration of taxable costs until after the

24 completion of the pending appeal and trial of the individual claim (and any remanded claims). See

25 Section II. To the extent the Court does consider costs at this stage, the Court should reject Ripple’s

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                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                             4:18-cv-06753-PJH
     12959013v1/016433
          Case 4:18-cv-06753-PJH          Document 448         Filed 12/10/24       Page 7 of 19




1    attempts to seek costs that are without authority under federal law or lack the requisite supporting

2    documentation. See Section III.

3    I.      The Court Should Exercise Its Discretion and Decline to Tax Costs

4            The federal district courts retain “discretion to refuse to tax costs in favor of the prevailing

5    party.” Crawford Fitting Co. v. J. T. Gibbons, Inc., 482 U.S. 437, 442 (1987). While “costs are to be

6    awarded as a matter of course in the ordinary case,” see Ass’n of Mexican-Am. Educators v. State of

7    California, 231 F.3d 572, 593 (9th Cir. 2000) (en banc), the Ninth Circuit, following the other circuits,

8    has outlined a number of “sufficiently persuasive” reasons to deviate from Rule 54(d)(1)’s default

9    standard. See Save Our Valley v. Sound Transit, 335 F.3d 932, 945 (9th Cir. 2003). “Appropriate

10 reasons for denying costs include: (1) the substantial public importance of the case, (2) the closeness

11 and difficulty of the issues in the case, (3) the chilling effect on future similar actions, (4) the plaintiff’s

12 limited financial resources, and (5) the economic disparity between the parties.” Escriba v. Foster

13 Poultry Farms, Inc., 743 F.3d 1236, 1247–48 (9th Cir. 2014); see also, e.g., Save Our Valley, 335 F.3d

14 at 945–46; Champion Produce, Inc. v. Ruby Robinson Co., 342 F.3d 1016, 1022 (9th Cir. 2003); Ass’n

15 of Mexican-Am. Educators, 231 F.3d at 592.

16           These factors do not comprise an “exhaustive list,” and the satisfaction of any one of them may

17 justify declining to tax costs in a particular case. See Escriba, 743 F.3d at 1247–48. Here, each factor

18 supports declining to tax costs against Plaintiff.

19           First, there can be no doubt that this case “presented a landmark issue of national importance.”

20 Champion Produce, 342 F.3d at 1022.              “When a case involves an issue of substantial public

21 importance, it is a factor that weighs against awarding costs to the prevailing party.” In re Tesla Inc.,

22 2023 U.S. Dist. LEXIS 103682, at *44 (N.D. Cal. June 14, 2023) (citing Escriba, 743 F.3d at 1247).

23 Litigation has spanned over six years and spawned a parallel SEC action involving the same novel

24 securities law issues. Moreover, over the course of the case, the parties litigated numerous important

25 and emerging issues of law, including the application of the Howey test to digital assets, the scope of

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                            PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                               4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH            Document 448         Filed 12/10/24       Page 8 of 19




1    solicitor seller liability under the Securities Act, and the application of the Securities Act’s statute of

2    repose to offerings of digital assets.

3            This case was one of the first private securities class actions involving the sale of digital assets

4    to proceed to summary judgment. The Supreme Court has explained that “an animating purpose” of

5    securities law is “to insure honest securities markets and thereby promote investor confidence.”

6    United States v. O’Hagan, 521 U.S. 642, 658 (1997). Courts in this district have thus found that

7    securities actions raise issues of “substantial public importance.” In re Tesla Inc., 2023 U.S. Dist.

8    LEXIS 103682, at *45.

9            The size of the Class, which is comprised of at least 700,000 XRP purchasers who had suffered

10 losses of over $600 million as a result of their purchases of XRP, also demonstrates the “substantial

11 public importance” of the issues raised in this case. Id. at *44 (finding that allegation that “hundreds

12 of thousands, if not millions, of Tesla investors saw an impact to their financial portfolios” supported

13 finding of “substantial public importance”).

14           Second, not only were the issues in this litigation close, but it is not even yet clear whether

15 Defendants will in fact be the prevailing party in this litigation. While the Court did grant Defendants’

16 summary judgment on Plaintiff’s Class claims, his individual claim survived summary judgment and

17 will proceed to trial following the resolution of Plaintiff’s appeal of the Class claims. Moreover, until

18 this Court granted-in-part Defendants’ motion for summary judgment, Plaintiff succeeded at each

19 major point in this litigation, defeating Defendants’ motions to dismiss and obtaining certification of

20 two classes.

21           Third, taxing costs against Plaintiff would chill future meritorious class action suits. As courts

22 in the Ninth Circuit have recognized, “class actions often involve relatively small monetary claims by

23 each plaintiff, and taxing substantial litigation costs on individual Plaintiffs here may chill potential

24 plaintiffs’ willingness to assume the monetary risk. This factor thus weighs in Plaintiffs’ favor.”

25 Hamilton v. Tbc Corp., 2020 U.S. Dist. LEXIS 189431, at *8 (C.D. Cal. Feb. 13, 2020). After all,

26 “[t]he policy at the very core of the class action mechanism is to overcome the problem that small

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                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                              4:18-cv-06753-PJH
     12959013v1/016433
         Case 4:18-cv-06753-PJH         Document 448         Filed 12/10/24      Page 9 of 19




1    recoveries do not provide the incentive for any individual to bring a solo action prosecuting his or her

2    rights.” Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 617 (1997) (citation and quotation marks

3    omitted). That chilling effect is particularly acute under the securities laws, which delegate significant

4    enforcement authority to private attorneys and class plaintiffs.

5            Finally, taxing costs against Plaintiff would be inappropriate and inequitable given the

6    significant economic disparity between the parties. See Ass’n of Mexican-Am. Educators, 231 F.3d at

7    592. Plaintiff introduced evidence in connection with class certification and summary judgment

8    briefing, that Ripple had earned well over $1 billion over the class period from selling XRP. ECF No.

9    273, at 9, 17. Ripple has publicly bragged that it has spent over $200 million litigating this case and
                           1
10 the parallel SEC Action. Plaintiff, meanwhile, is an individual XRP purchaser. The “economic

11 disparity between the parties” could hardly be greater. Escriba, 743 F.3d at 1247–48.

12           In all, given the substantial national importance of the case, the closeness and difficulty of the

13 issues that were litigated and remain to be litigated, the need to avoid chilling future meritorious

14 securities claims, and the economic disparity between the parties, Plaintiff respectfully requests that

15 the Court refuse to tax any costs in favor of Ripple. Rule 54(b) does not countenance Ripple’s request

16 for costs in these extraordinary circumstances.

17 II.       The Court Should Defer Any Decision on Costs Until After the Appeal and Trial

18           The Court should defer any decision on costs until there has been a final judgment as to all

19 parties and all causes of action. The Court’s Order Granting the Parties’ Joint Motion for Entry of

20 Final Judgment and to Stay directed the Court to enter an appealable judgment in Defendants’ favor

21 on the four class claims, but “STAY[ED] Plaintiff’s Fourth Claim for Relief under § 25501 against

22 defendant Ripple and defendant XRP II and § 25504.1 against defendant Ripple and defendant

23 Garlinghouse, see First Am. Compl. ¶¶ 197–206, until the final resolution of any and all appeals of

24 the class claims.” See ECF Nos. 442, 446. Because this individual claim has not yet been adjudicated,

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     Jeff John Roberts, Ripple’s legal bills hit $200 million as crypto industry looks to Asia, FORTUNE,
   (Sep. 21, 2023), https://fortune.com/crypto/2023/09/21/ripples-legal-bill-200-million-sec-ruling/.
27                                                    5
                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                             4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH            Document 448         Filed 12/10/24       Page 10 of 19




1    it is not yet clear that Defendants will in fact be the prevailing party in this litigation. Indeed, as noted

2    above, Defendants previously offered to have judgment entered against them on this cause of action.

3    Taxing costs at this juncture would thus be premature. PJY Enters., Ltd. Liab. Co. v. Kaneshiro, 2014

4    U.S. Dist. LEXIS 104609, at *11–14 (D. Haw. July 31, 2014) (“[T]axing costs after a Rule 54(b)

5    judgment may not be a final ruling on costs in the case as a whole and can be considered premature.”).

6            The Tenth Circuit’s ruling in Woodmen Accident & Life Insurance Co., is instructive:

7                    We believe logic dictates that, unless the trial court — as part of its Rule
                     54(b) certification — directs taxing and apportionment of costs, the time
8                    for taxing costs begins to run only from the entry of what would
                     ordinarily be a final judgment as to all parties and all issues. To hold
9                    otherwise would unnecessarily complicate matters. For example, in the
                     instant case, Mr. Bryant might succeed on his remaining claim for relief
10                   and, thus, be entitled to costs as a “prevailing party.” Additionally,
                     certain costs, such as deposition costs, might have been extended to
11                   resolve issues certified pursuant to Rule 54(b) as well as the issue still
                     pending in the trial court. We believe the trial court should have the
12                   freedom to adjust any cost awards at least until there has been a final
                     judgment as to all parties and all issues, and we assume the trial court
13                   will consider the possibility of doing so in this case. Thus, because the
                     trial court's judgment is not final with respect to costs, we dismiss Mr.
14                   Bryant’s cost appeal.
15 784 F.2d 1052, 1057–58 (10th Cir. 1986); see also Ebonie S. v. Pueblo Sch. Dist. 60, 2011 U.S. Dist.

16 LEXIS 99534, at *7–8 (D. Colo. Sep. 1, 2011) (finding that, under Woodmen, taxing costs after the

17 certification of the dismissal order as a final judgment pursuant to Rule 54(b) was premature and ruling

18 that any award of taxable costs would occur after the entry of judgment as to all claims and all parties

19 in the case); Microsoft Corp. v. Multi-Tech Sys., 2002 U.S. Dist. LEXIS 27119, at *4–5 (D. Minn. Oct.

20 23, 2002) (staying proceedings, including the determination of taxable costs, until the resolution of

21 any appeal filed from the Rule 54(b) judgment); Asarco, LLC v. NL Indus., 2016 U.S. Dist. LEXIS

22 39859, at *10 (E.D. Mo. Mar. 28, 2016) (“In light of the anticipated appeal of Union Pacific’s

23 summary judgment, the Court finds taxation of costs against Asarco at this juncture to be premature.”)

24 (citation omitted).

25           The factors set forth in Section I above further illustrate that entry of an award of taxable costs
26 at this juncture would have the potential to “chill future plaintiffs” from securities litigation. PJY

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                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                              4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH            Document 448         Filed 12/10/24       Page 11 of 19




1    Enters., Ltd. Liab. Co., 2014 U.S. Dist. LEXIS 104609, at *11–14 (“Although there is no indication

2    that Plaintiffs are indigent, the burden on Plaintiffs to pay taxable costs at this stage is greater than the

3    burden on the City Defendants if this Court defers the award of taxable costs.”). The PJY Court further

4    noted that “there is also the possibility that the resolution of Count V may affect the prevailing party

5    analysis,” and thus concluded that “an award of taxable costs after the 54(b) Judgment may chill future

6    civil rights litigation.” Id. (“[T]his Court FINDS that an award of taxable costs is not appropriate at

7    this stage of the case.”); Ebonie S., 2011 U.S. Dist. LEXIS 99534, at *7 (finding taxation of costs

8    premature because Rule 54(b) certification did not “direct the taxing and apportionment of costs” and

9    “Plaintiff has two claims going forward against the remaining Defendant school district and may, as

10 noted by the Tenth Circuit, succeed on those claims, thus entitling her to an award of costs as the

11 prevailing party”).       So too here. The resolution of Plaintiff’s individual claim may affect the

12 prevailing party analysis, and the award of substantial costs following a Rule 54(b) Judgment entered

13 into to protect members of the absent Class at his own expense is likely to chill future securities

14 litigation and discourage vigorous litigation of class claims.

15           During the parties’ meet and confer, Ripple argued that this case is distinguishable from the

16 line of cases cited above because “there has been a final determination that Defendants are the

17 prevailing parties with regard to claims brought by the certified class” and that even if “plaintiff

18 prevails on his individual claim, that would not make the class the prevailing party.” Taylor Copeland

19 Decl. ¶ 4, Ex. 2 at 1. Ripple bases this position on a misreading of Shorter v. S. Cal. Buick Pontiac

20 GMC Dealers, Inc., 2018 U.S. Dist. LEXIS 225690, at *10-11 (C.D. Cal. June 7, 2018), which

21 distinguished Woodmen “because the Dismissal Order resolved all claims properly before the Court

22 between Plaintiff and [a specific defendant],” even though Plaintiff’s claims against other parties

23 remained live. But that is not the case here. The Court’s summary judgment order did not resolve all

24 claims against any Defendant, let alone all claims against Ripple. Moreover, Ripple’s attempt to

25 distinguish the Class claims from the individual claims is nonsensical. Plaintiff is a member of each

26 Class and it is Plaintiff from whom Ripple seeks to recover over $200,000 in costs. But whether

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                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                              4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH          Document 448         Filed 12/10/24     Page 12 of 19




1    Plaintiff or Defendants are the prevailing party simply cannot be assessed until there is a final ruling

2    on Plaintiff’s individual claim as well.

3            Moreover, the piecemeal adjudication of costs would run contrary to the purpose or Rule 54(b)

4    and the Parties’ Joint Motion, which asked the Court to enter judgment on the class claims pursuant

5    to Rule 54(b) in order “to advance resolution of the class claims, streamline the remaining litigation,

6    and avoid unnecessary further burden on the Court and the Parties.” ECF No. 437 at 1. The Court

7    should thus defer ruling on costs until resolution of the appeal of the Class claims and final

8    adjudication of Plaintiff’s Fourth Claim for Relief and any remanded claims.

9    III.    The Court Should Deny Ripple’s Improper Cost Requests

10           For the above reasons, the Court should refuse to tax costs in favor of Ripple or, in the

11 alternative, defer consideration of Ripple’s requested costs until after completion of the pending appeal

12 and trial of remaining claims. If the Court chooses to consider Ripple’s costs now, it should decline

13 to tax those costs outlined below as impermissible under the federal and local rules.

14           To recover taxable costs, Ripple has the burden to point to a rule or statute authorizing the

15 taxability of a particular cost, and to establish the amount of compensable costs and expenses to which

16 it is entitled. See In re Ricoh Co., Ltd. Patent Litig., 661 F.3d 1361, 1364, 1367 (Fed. Cir. 2011)

17 (applying Ninth Circuit precedent to hold that “the burden is on the prevailing party to establish the

18 amount of compensable costs and expenses to which they are entitled”) (cleaned up); see also Pac.

19 Coast Bldg. Prods. v. Certainteed Gypsum, Inc., 2019 U.S. Dist. LEXIS 228685, at *8 (N.D. Cal. Dec.

20 5, 2019) (same). A party seeking costs must provide an affidavit saying that the costs were

21 “necessarily incurred, and are allowable by law” and “[a]ppropriate documentation to support each

22 item claimed.” Civ. L.R. 54-1(a). “With regard to individual itemized costs, ‘the burden is on the

23 party seeking costs . . . to establish the amount of compensable costs and expenses to which it is

24 entitled.’” City of Alameda v. Nuveen Mun. High Income Opportunity Fund, 2012 U.S. Dist. LEXIS

25 7403, at *7 (N.D. Cal. Jan. 23, 2012) (quoting Allison v. Bank One-Denver, 289 F.3d 1223, 1248–49

26 (10th Cir. 2002)). “A district court may reduce costs which are unreasonably large or which are not

27                                                      8
                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                              4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH           Document 448       Filed 12/10/24      Page 13 of 19




1    supported by adequate documentation.” In re 5-Hour Energy Mktg. & Sales Pracs. Litig., 2018 U.S.

2    Dist. LEXIS 244553, at *8 (C.D. Cal. Sep. 11, 2018).

3            Ripple seeks to tax $228,287.95 in costs against Plaintiff. Plaintiff objects to only a limited

4    set of those costs, related to costs that are unreasonably large, without sufficient supporting

5    documentation, and/or not authorized by statute. Specifically, Plaintiff objects to $201,020.07 in costs

6    and requests that Ripple’s costs be reduced to $27,267.88, as summarized in the following chart:

7
                  Cost Item                  Amount           Amount Objected To         Corrected Costs
8                                            Claimed
         Deposition transcript/video        $45,666.94             ($23,923.86)             $21,743.08
9
       recording, Civil LR 54-3(c)(1)
10      Deposition exhibits, Civil LR        $3,599.80                 NA                    $3,599.80
                 54-3(c)(3)
11      Notary & reporter attendance          $1,925                   NA                     $1,925
        fees, Civil LR 54-3(c)(4)(5)
12      Disclosure/formal discovery        $177,096.21            ($177,096.21)                  $0
13    documents, Civil LR 54-3(d)(2)
                    Total                  $228,287.95            ($201,020.07)             $27,267.88
14
             A.      Objection to Costs for Deposition Services – 28 USC § 1920(2)
15
             28 U.S.C. § 1920(2) allows the clerk to tax “[f]ees for printed or electronically recorded
16
     transcripts necessarily obtained for use in the case.” Costs associated with “[e]xpedited and rough
17
     transcripts . . . are generally not recoverable.” Vectren Communs. Servs. v. City of Alameda, 2014
18
     U.S. Dist. LEXIS 100227, at *10 (N.D. Cal. July 22, 2014). As summarized in the chart below, Ripple
19
     nevertheless seeks reimbursement of $23,573.86 in costs associated with expedited transcripts and
20
     $350 in costs associated with expedited processing, handling, or archiving of those transcripts. These
21
     expedited costs are not taxable.
22

23                Ex.                    Expediting Costs         Processing, Handling &
                                                                  Archiving – Expedited
24                44 (Vias)              $1,395 (NEXT         DAY $55
                                         EXPEDITE)
25                50 (Garlinghouse)      $3,055 (EXPEDITE)            $55
26                51 (McCaleb)           $1,141.55 (EXPEDITE)         $55
                  52 (Dicharry)          $2,133.12 (EXPEDITE)         $55
27                                                    9
                              PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                            4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH            Document 448       Filed 12/10/24      Page 14 of 19




                  56 (Ferrell                 $2,833.05 (EXPEDITE)     $65
1                 58 (Clark)                  $2,606.43
2                                             (2 day turnaround)
                  60 (Feinstein)              $3,509.01
3                                             (2 day turnaround)
                  62 (Ammous)                 $3,131.40
4                                             (2 day turnaround)
5                 64 (Kothari)                $1,416 (EXPEDITE)        $65
                  65 (Marais)                 $2,353.30 (EXPEDITE)
6                 Total                       $23,573.86               $350

7            B.      Objection to E-Discovery Costs – 28 USC § 1920(4), Civil L-R 54-3(d)(2)
8
                     1. Ripple Fails to Establish Compensable E-Discovery Costs from this Case
9
             28 U.S.C. § 1920(4) allows the clerk to tax “[f]ees for exemplification and the costs of making
10
     copies of any materials where the copies are necessarily obtained for use in the case.” The invoices
11
     for which Ripple seeks reimbursement all identify the Engagement Name as “SEC Inquiry – Project
12
     Nectar.” None makes any reference to the instant case. Ripple acknowledges that it “used a single
13
     document database to make productions in both the Class Action and a parallel enforcement action
14
     brought by the U.S. Securities and Exchange Commission in the U.S. District Court for the Southern
15
     District of New York (the “SEC Case”).” ECF No. 445-1, Declaration of Ana Guardado at ¶ 12.
16
     Ripple further admits that “Consilio billed Ripple for document production costs in both matters on
17
     combined invoices that did not distinguish between the matters.” Id. Despite its inability to distinguish
18
     between costs incurred in this case and the SEC Case, Ripple nevertheless seeks reimbursement of
19
     $177,096.21 of costs it contends are associated with document productions in this case, including:
20
             •    “Data Processing,” a broad category that Ripple acknowledges includes “metadata
21
                  extractions, hash-value creation, de-NIST and deduplication, and similar technical
22
                  processing.” Id. ¶ 14(a).
23
             •    Optical Character Recognition (OCR) text processing.
24
             •    Selective Image Creation, which Ripple contends covers the creation of TIFF images.
25
             •    Automated and Native Redaction Services, which Ripple contends covers tools used for
26
                  placing redactions in produced documents.
27                                                    10
                            PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                                4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH          Document 448          Filed 12/10/24     Page 15 of 19




1            Ripple seeks to justify this haphazard attempt to saddle Plaintiff with costs Ripple incurred in

2    the SEC Case by arguing that (1) during certain months Ripple made production only in this action,

3    and (2) where Ripple made productions in both actions, half of those costs should be attributed to

4    production in this case. But the invoices undermine both of these arguments, and in fact suggest that

5    many of these costs are not attributable to Ripple’s productions at all.

6            First, Ripple’s productions to Plaintiff in this case were overwhelmingly re-productions of

7    productions already made in the SEC Case. Obviously, the re-production of an earlier document

8    production should be much simpler and thus cheaper than the initial production. For example, once

9    metadata has been extracted, hash-values created, and documents deduplicated in an initial production,

10 that work should not need to be redone when those documents are reproduced. Similarly, OCR text

11 processing, Selective Image Creation, and redaction should only need to be performed in the initial

12 production. The letters accompanying Ripple’s productions confirmed this, with many noting that

13 “[t]hese documents were recently produced in the SEC litigation (SEC v. Ripple Labs, Inc. et al., Case

14 No. 20 Civ. 10832 (AT) (S.D.N.Y.)) and are now being produced to you here in the same form

15 and manner that they were produced in that action.” Taylor Copeland Decl. ¶ 6, Ex. 3.

16           Ripple’s invoices also bear this out. During the 15 months Ripple claims it made productions

17 solely in this action, the total cost of Image Creation is $5,340.03. Guardado Decl. ¶ 45. The Image

18 Creation costs are nearly twenty times higher ($103,290.98) during the 14 months Ripple claims it

19 made productions in both actions. Id. OCR and redaction costs are also approximately 100 times

20 greater during months where productions were made in both cases versus months where productions

21 were made in this action alone. Id. Data processing costs are identified as $45,709.65 in months

22 where productions were made in this case versus $146,992.13 in months where productions were made

23 in both. Id. If these costs were properly identified and equally attributable to the two cases, one would

24 expect these costs to be relatively similar during months where productions were made in both cases

25 and months where productions were made only in this case.

26

27                                                      11
                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                             4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH           Document 448          Filed 12/10/24      Page 16 of 19




1            Because Ripple does not establish that any of the e-discovery costs it seeks to recover were

2    actually incurred in this case, the Court should disallow these costs in their entirety. In the alternative,

3    the Court should disallow all costs incurred in months where Ripple made productions in both the SEC

4    and this case. This would leave $45,709.65 in “Data Processing” costs, $17.18 in OCR costs,

5    $5,340.03 in “Image Creation” costs, and $1.35 in “Redaction” Costs. As set forth in Section 2 below,

6    the Data Processing Costs should be disallowed in their entirety, leaving a total of $5,358.56 related

7    to e-discovery.

8                      2. “Data Processing” Costs are Not Taxable
9            “Although ‘costs’ has an everyday meaning synonymous with ‘expenses,’ the concept of
10 taxable costs under Rule 54(d) is more limited and represents those expenses, including, for example,

11 court fees, that a court will assess against a litigant.” Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S.

12 560, 573 (2012) (quoting 10 C. Wright, A. Miller, & M. Kane, Federal Practice and Procedure § 2666,

13 pp. 202–203 (3d ed. 1998)). Civil Local Rule 54-3 further provides standards for interpreting the

14 categories of costs set forth in Section 1920.

15           “A narrow construction of § 1920(4) requires recognition that the circumstances in which a
16 copy will be deemed ‘necessarily obtained’ for use in a case will be extremely limited.” In re Online

17 DVD-Rental Antitrust Litig., 779 F.3d 914, 930 (9th Cir. 2015). “[W]hether certain tasks are taxable

18 pursuant to § 1920(4) calls for some common-sense judgments guided by a comparison with the paper-

19 document analogue.” Id. (internal quotation omitted). “[C]osts compensable under section 1920 are

20 only permitted for preparation and duplication of documents, not the efforts incurred in assembling,

21 collecting, or processing those documents.” Kwan Software Eng’g, Inc. v. Foray Techs., LLC, 2014

22 U.S. Dist. LEXIS 63933, at *4 (N.D. Cal. May 8, 2014) (quoting Ancora Techs., Inc., 2013 U.S. Dist.

23 LEXIS 121225, at *10 (N.D. Cal. Aug. 27, 2013) (emphasis added)).

24           Here, Ripple has not provided sufficient detail to allow the Court to determine whether any of
25 its “Data Processing” costs “are actual copying costs.” Id. The invoices provide nothing more than a

26 generic description as “Data Processing.” Ripple’s Litigation Director, Ana Guardado, states that

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                            PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                              4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH          Document 448          Filed 12/10/24     Page 17 of 19




1    “Data Processing . . . covers metadata extraction, hash-value creation, de-NIST and deduplication and

2    similar technical processing . . .” She does not state that these are the only services counted under the

3    “Data Processing” umbrella or even that all “Data Processing” charges relate to productions, much

4    less productions made in this case. Nor does Ripple provide any information from Consolio regarding

5    what its “Data Processing” work actually involved. “Section 1920(4) authorizes awarding only the

6    cost of making copies.” Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 674 F.3d 158, 169 (3d

7    Cir. 2012). Because Ripple cannot show that all, or even some, of its “Data Processing” costs were

8    incurred in “making copies,” it cannot recover those costs.

9            In fact, the invoices submitted by Ripple show that not all “Data Processing” costs relate to

10 productions made in this action. In total, Ripple’s invoices reflect 4,591.71 GB of “Data Processing.”

11 Exhibit 27, the invoice for July 2021, reflects 2,808.77 GB of “Data Processing” at a cost of

12 $98,306.95 in that month alone. However, Plaintiff in this action has received only 922 GB of data

13 from Ripple. Taylor-Copeland Decl. ¶ 5. Throughout the entire course of this litigation, Ripple

14 produced to Plaintiff less than one-third of the data reflected on the single July invoice and one-fifth

15 of the data reflected in all the invoices submitted by Ripple.

16           Plaintiff raised this issue during the parties’ meet and confer and asked Ripple if it could

17 identify the amount of data it produced. Taylor-Copeland Decl. ¶ 4, Ex. 2. Ripple was unable to do

18 so but argued that it “should be expected that ‘more data than was actually produced’ got submitted

19 for processing,” because “the data processing charge includes task such as ‘de-NIST and

20 deduplication,’ both of which serve to reduce the volume of data that is ultimately produced.” Id. But

21 this “explanation” just confirms that these Data Processing charges were not incurred in “making

22 copies” and thus are not recoverable. In fact, the process described is the exact opposite of “making

23 copies.” It is the selection of documents which will not be copied and produced.

24           In addition, a number of courts in this district have concluded that “the expense incurred for

25 OCR and metadata extraction, are not recoverable, as they are merely for the convenience of counsel.”

26 Computer Cache Coherency Corp. v. Intel Corp., 2009 U.S.Dist. LEXIS 122596, at *11 (N.D. Cal.

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                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                             4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH           Document 448          Filed 12/10/24     Page 18 of 19




1    Dec. 18, 2009); see also Plantronics, Inc. v. ALIPH, Inc., 2012 U.S. Dist. LEXIS 152297, at *46 (N.D.

2    Cal. Oct. 23, 2012) (“[T]he court declines to award the processing costs.”). Numerous cases in this

3    District have also declined to tax significant “costs for extraction and data processing” and taxed only

4    “more modest costs associated more directly with the processing of TIFF and PDF files.” Id. at *44

5    (N.D. Cal. Oct. 23, 2012) (“The court is not willing to go that far and tax over $200,000 in costs for

6    extraction and processing” and collecting cases regarding the same).

7            Ripple’s request for “Data Processing” costs should be denied both because (1) it seeks

8    reimbursement of costs not directly related to copying, and (2) it did not provide sufficient detail to

9    substantiate those costs. Id. (“As a separate ground for its decision, the court exercises its discretion

10 and holds that Aliph did not itemize the e-discovery processing costs with enough detail to establish

11 that the court should award it any of the ESI processing costs.”) (citing Civ. L. R. 54-1(a) (affidavit

12 and appropriate documentation must support each item claimed on the bill of costs)).

13                                               CONCLUSION

14           For the foregoing reasons, Plaintiff requests that the Court order each party to bear its own

15 costs. In the alternative, Plaintiff requests that the Court defer consideration of taxable costs until after

16 completion of the pending appeal and resolution of the stayed individual claim and any remanded

17 Class claims. If the Court does proceed to address costs at this juncture, Plaintiff requests the

18 following costs requested by Ripple be reduced or declined as follows below.

19             Cost Item               Amount Claimed           Amount Objected To         Corrected Costs
      Deposition transcript/video        $45,666.94                ($23,923.86)              $21,743.08
20
            recording, Civil
21           LR 54-3(c)(1)
       Deposition exhibits, Civil          $3,599.80                     NA                    $3,599.80
22           LR 54-3(c)(3)
           Notary & reporter                 $1,925                      NA                      $1,925
23
       attendance fees, Civil LR
24           54-3(c)(4)(5)
           Disclosure/formal              $177,096.21               ($177,096.21)                  $0
25    discovery documents, Civil
             LR 54-3(d)(2)
26               Total                    $228,287.95               ($201,020.07)              $27,267.88
27                                                       14
                           PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                              4:18-cv-06753-PJH
     12959013v1/016433
       Case 4:18-cv-06753-PJH     Document 448       Filed 12/10/24   Page 19 of 19




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                         PLAINTIFF’S OBJECTIONS TO RIPPLE’S BILL OF COSTS
28                                      4:18-cv-06753-PJH
     12959013v1/016433
